DocuSign Envelope ID: ASF a6 OPC AMAA OS PoP eDocument 1 Filed 02/03/23 Page 1 of 14

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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ELOY XOCHITEMOL, individually CASE NO:
and on behalfo fothers similarly situated,

 

Plaintiff,
vs.

NONNA BEPPA SOHO, LLC, a New York

limited liability company, and VALENTINA
IMBRENDA, an individual,

Defendants.

 

COMPLAINT

Plaintiff, ELOY XOCHITEMOL ("Plaintiff), individually and on behalf of others

similarly situated, by and through his attorneys, Law Offices of Nolan Klein, P.A., hereby sues

NONNA BEPPA SOHO, LLC ("Corporate Defendant") and VALENTINA IMBRENDA

(hereinafter "Individual Defendant") (Corporate Defendant and Individual Defendant are referred
to collectively as "Defendants"), and alleges:

NATURE OF THE ACTION

1. Plaintiffbrings this action on behalf ofhimself, and other similarly situated individuals, for

unpaid overtime wages pursuant to the Fair Labor Standards Act of 1938, 29 U.S.C. § 201 ef

seq. ("FLSA"), for violations of the N.Y. Labor Law §§ 190 ef seg. and 650 ef seg. (the

"NYLL"), and for violations of the "spread ofhours" and overtime wage orders of the New

York Commissioner of Labor codified at N.Y. COMP. CODES R. & REGS. Tit. 12, § 146-

16 (the "Spread of Hours Wage Order"), including applicable liquidated damages, interest,

attorneys’ fees, and costs.
DocuSign Envelope ID: ASF a6 OPC AMAA OS PaaS Document 1 Filed 02/03/23 Page 2 of 14

2. Plaintiff further seeks certification of this action as a class and collective action on behalf of
Plaintiff individually, and on behalf of all other similarly situated employees and former
employees of Defendants pursuant to Fed. R. Civ. P. 23 and 29 U.S.C. § 216(b).

JURISDICTION AND VENUE

3. This Court has subject matter jurisdiction pursuant to the FLSA, 29 U.S.C. § 216(b), 28
U.S.C. § 1337 (interstate commerce), and 28 U.S.C. § 1331 (federal question). Supplemental
jurisdiction over the state law claims is conferred by 28 U.S.C. § 1367(a).

4. Venue ts proper in this District under 28 U.S.C. § 1391(b) and (c) because all or a substantial
part ofthe events or omissions giving rise to the claims occurred in this District, Defendants
operate their business in this District, and Plaintiffwas employed in this District.

PARTIES

5. Plaintiffis over the age of 18 years, swiJuris, and is aresident ofthe State of New York.

6. Corporate Defendant is a limited liability company organized and existing under the laws of
the State ofNew York.

7. Corporate Defendant is a restaurant known as Nonna Beppa, located at 290 Hudson Street,
New York, NY 10013.

8 On information and belief, Individual Defendant, VALENTINA IMBRENDA, is over the
age of 18 years, swiJuris, and owns (in whole or in part), operates, and/or controls, and/or
manages the Corporate Defendant, and/or has authority over rates of pay and schedules of
employees within the Corporate Defendant's business.

9. Individual Defendant is sued herein individually in her capacity as, on information and belief,
she is an owner, officer and/or agent of Corporate Defendant.

10. Defendants are an enterprise as defined by the FLSA, 29 U.S.C. § 203 (r-s).
DocuSign Envelope ID: ASF a6 OPC AMA NOS Papas Document 1 Filed 02/03/23 Page 3 of 14

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At all times relevant to this action, Defendants were engaged in commerce or in an industry
or activity affecting commerce.
Upon on information and belief, the Corporate Defendant had, at all times material hereto, a
gross annual volume of sales ofnot less than $500,000.00.
Upon information and belief, Defendants and/or their enterprise were and are directly
engaged in interstate commerce.

FACTS
At all relevant times, Plaintiff was and is a former employee of the Defendants within the
meaning ofthe FLSA and NYLL.
Plaintiffworked for the Defendants for just less than five (5) months, from September 2022,
through January 9, 2023.
Plaintiff was employed as an assistant to the chef, and his job duties included food
preparation, keeping the kitchen clean and organized, plating dishes, and other such related
tasks.
Plaintiff regularly handled goods in interstate commerce, including different food
ingredients, flour, and cooking supplies, among other related industry supplies.
Plaintiffs work duties required neither discretion nor independent judgment.
Plaintiff was paid a standard rate of $22.00 per hour.
Plaintiff generally worked five (5) days a week from 10:00 am. through 11:00 pm.
Accordingly, Plaintiff worked approximately 50 hours per week, though sometime less and
sometimes more. Plaintiff saved many of his time records and will produce specific time
records as part of his demand calculations in this case.

Defendants never granted Plaintiffa meal break ofrest period of any kind.
DocuSign Envelope ID: ASF a6 OPC AMA AOS Papas Document 1 Filed 02/03/23 Page 4 of 14

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Defendants failed to pay Plaintiffany overtime premium (time and a half) for hours worked
over forty (40) in each workweek.

Defendants misclassified Plaintiff, an assistant chef in Defendants' restaurant, as an
independent contractor, when as a matter of law, he was not.

Defendants failed to provide Plaintiffwith wage statements at the time of payment of wages,
containing: the dates of work covered by that payment of wages; name of employee; name
of employer; address and phone number of employer; rate or rates of pay and basis thereof,
whether paid by the hour, shift, day, week, salary, piece, commission, or other; gross wages;
deductions; allowances, if any, claimed as part of the minimum wage; net wages; the regular
hourly rate or rates of pay; the overtime rate or rates of pay; the number of regular hours
worked, and the number of overtime hours worked, as required by NYLL §195(3).
Defendants failed to provide Plaintiff, at the time of hiring, a statement in English and the
employee's primary language (in this case, Spanish), containing: the rate or rates of pay and
basis thereof, whether paid by the hour, shift, day, week, salary, piece, commission, or other;
allowances, if any, claimed as part of the minimum wage, including tip, meal, or lodging
allowances; the regular pay day designated by the employer; the name of the employer; any
"doing business as" names used by the employer; the physical address ofthe employer's main
office or principal place of business, and a mailing address if different; and the telephone
number ofthe employer, as required by New York Labor Law§ 195(1).

Defendants failed to pay Plaintiffthe required "spread ofhours" pay for any day in which he

worked 10 hours or more.
DocuSign Envelope ID: ASF a6 OOP AMAA OS Popa S Document 1 Filed 02/03/23 Page 5 of 14

27. Upon information and belief, Defendants' conduct extended beyond Plaintiff to all other
similarly situated employees, including non-exempt employees working in other departments
ofthe Corporate Defendant business.

28. As part of their regular business practice, Defendants intentionally, willfully, and repeatedly
harmed Plaintiff and similarly situated individuals by engaging in a pattern, practice, and/or
policy ofviolating the FLSA and the NYLL.

29. As part of their regular business practice, Defendants have willfully engaged in a pattern,
policy, and practice ofunlawful conduct for the actions alleged in this Complaint, in violation
ofthe federal and state rights ofthe Plaintiffs, similarly situated individuals, and members of
the proposed Class by misclassifying them as independent contractors when Plaintiffwas, in
fact, an employee.

RULE 23 CLASS ACTION ALLEGATIONS

30. Plaintiffbrings this action on his own behalf, and as a class action, pursuant to Federal Rule
of Civil Procedure 23, on behalf ofa class of individuals defined as follows: Any and all
individuals employed by Defendants at Defendants' business at any time during the six-year
period preceding the date on which this complaint was filed (the "Class").

31. Excluded from the Class is any person who is an executive, professional, managerial, or other
employee of Defendants who is exempt from coverage under the NYLL and FLSA, and not
subject to protection of those laws.

32. The members of the class are so numerous that joinder of all Class members is no practical.

The size ofthe class will be determined through discovery.
DocuSign Envelope ID: ASF a6 OPC AMAA OS PoP eDocument 1 Filed 02/03/23 Page 6 of 14

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Plaintiffs claims are typical of those ofthe Class. Plaintiff, along with every member of the
Class, has suffered violations of applicable labor laws, including each of the violations
complained by Plaintiffherein.

Plaintiff will adequately protect the interest of all members of the Class and has retained
competent legal counsel experienced class action litigation as well as FLSA and NYLL
litigation. Plaintiffhas no interest that are contrary to the interests ofthe Class.

A class action is by far the most efficient way by which to resolve all FLSA and NYLL claims
belonging to any current or former Employee of Defendants, which occurred at any time
within the relevant limitations period. The expense and burden associated with individual
litigation ofeach claim held by each member ofthe Class would be extraordinarily inefficient
for Defendants, for members ofthe Class, and for courts of this District.

Common questions oflaw and fact prevail with respect all members ofthe Class predominate
over questions applicable solely to individual Class members. Among such common question
of law and fact is whether Defendant has violated its state and federal legal obligations by
failing to comply with FLSA and NYLL requirements in the manner alleged by Plaintiff
herein, such that all members of the Class are owed minimum, overtime, and/or spread of
hours pay, as ell as damages for failure to provide required wage and other notices.

Plaintiff knows of no special or unique difficulty that would be encountered m the
management of litigation that might preclude its maintenance as a class action.

The names and addresses of Class members are readily discemable from the Defendants'
business records. Notice of this case to each member of the Class, along with notice to each
member of the Class that he/she will need to opt-out ofthe Class or otherwise be barred from

pursuing future action, can be delivered by U.S. Mail, or electronic mail (where applicable),
DocuSign Envelope ID: ASF a6 OOP AMAA OS PoP eDocument 1 Filed 02/03/23 Page 7 of 14

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using technique and a form of notice similar to those customarily used in class action
litigation in the District, and can additionally be posted at Defendants’ place of business, or
by other means that are likely to reach members of the Class.

FLSA COLLECTIVE ACTION CLAIMS
Plaintiff brings his FLSA minimum wage, overtime, and liquidated damages claims as a
collective action pursuant to FLSA Section 16(b), 29 U.S.C. § 216(b), on behalf of all
similarly situated persons (the "FLSA Class"), 1.e., persons who are or were employed by
Defendants or any of them at any time during the three-year period prior to this Complaint
being filed (the "FLSA Class Period").
At all relevant times, Plaintiff and other members ofthe FLSA Class were similarly situated
in that they had substantially similar job requirements and pay provisions, and were subject
to Defendants' common practices, policies, programs, procedures, protocols and plans
including willfully failing and refusing to pay them the required minimum wage and
overtime.
The claims of Plaintiff stated herein are similar to those of the other similarly situated
employees.

FIRST CAUSE OF ACTION
Violation of the Minimum Wage Provisions of the FLSA)

Plaintiff re-avers and re-alleges the allegations set forth above, as though fully set forth
herein.

At all times relevant to this action, Defendants were Plaintiff's employer (and employer of
the putative FLSA Class members) within the meaning of the Fair Labor Standards Act, 29

US.C. § 203(d).
DocuSign Envelope ID: ASF a6 OOP CARA AOS Faas Document 1 Filed 02/03/23 Page 8 of 14

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. Defendants had the power to hire and fire Plaintiff (and the FLSA Class members), controlled

the terms and conditions of employment, and determined the rate and method of any
compensation in exchange for their employment.

At all times relevant to this action, Defendants were engaged in commerce or in an industry
or activity affecting commerce.

Defendants constitute an enterprise within the meaning of the Fair Labor Standards Act, 29
U.S.C. § 203 (1s).

Defendants failed to pay Plaintiff and the FLSA class members at the applicable minimum
hourly rate, in violation of 29 U.S.C. § 206(a), for all or a part of their employment.
Defendants’ failure to pay Plaintiff and the FLSA class members at the applicable minimum
hourly rate was willful within the meaning of 29 U.S.C. § 255(a).

Plaintiff and the FLSA class members were damaged in an amount to be determined at trial.

SECOND CAUSE OF ACTION
(Violation of the Overtime Provisions of the FLSA)

Plaintiffre-avers and re-alleges the allegations set forth above, as though fully set forth here.
Defendants failed to pay Plaintiff and the FLSA class members overtime compensation at
rates of one and one-half times the regular rate of pay for each hour worked more than forty
hours in a workweek, in violation of 29 U.S.C. § 207 (a)(1).

Defendants' failure to pay Plaintiff and the FLSA class members overtime compensation was
willful within the meaning of 29 U.S.C. § 255(a).

Plaintiff and the FLSA class members were damaged in an amount to be determined at trial.
DocuSign Envelope ID: ASF a6 OOP ARAN OS Faas Document 1 Filed 02/03/23 Page 9 of 14

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THIRD CAUSE OF ACTION
(Violation of the New York Minimum Wage Act)

Plaintiff re-avers and re-alleges the allegations set forth above, as though fully set forth
herein.

Defendants paid Plaintiff and the NYLL Class less than the minimum wage during part of
their employment, in violation ofNYLL § 652(1) and supporting regulations.

Defendants’ failure to pay Plaintiff and the NYLL Class minimum wage was willful within
the meaning ofNYLL § 633.

Plaintiff and the NYLL Class were damaged in an amount to be determined at trial.

FOURTH CAUSE OF ACTION
(Violation of the Overtime Provisions of the New York Labor Law)

Plaintiff re-avers and re-alleges the allegations set forth above, as though fully set forth
herein.

Defendants failed to pay Plaintiff and the NYLL Class overtime compensation at rates of
one- and one-halftimes the regular rate ofpay for each hour worked in excess of forty hours
in a workweek, in violation ofNYLL Art. 19 and 12 N.Y.C.R.R. § 142-2.2.

Defendants’ failure to pay Plaintiff and the NYLL Class overtime compensation was willful
within the meaning ofNYLL § 663.

Plaintiff and the NYLL Class were damaged in an amount to be determined at trial.

FIFTH CAUSE OF ACTION

(Violation of the Spread of Hours Wage Order of the New York Commissioner of Labor)

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Plaintiff re-avers and re-alleges the allegations set forth above, as though fully set forth

herein.
DocuSign Envelope ID: ASF eS ARs ApOS Soh S8 oY ABA Document 1 Filed 02/03/23 Page 10 of 14

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Defendants failed to pay Plaintiff and the NYLL Class one additional hour's pay at the basic
minimum wage rate before allowances for each day Plaintiffs spread ofhours was ten hours
or more in violation ofNYLL §§ 650 ef seg. and 12 N.Y.C.R.R. § 146-1.6.

Defendants’ failure to pay Plaintiff and the NYLL Class an additional hour's pay for each

day Plaintiffs spread of hours was ten hours or more was willful within the meaning of

NYLL § 663.

Plaintiffwas damaged in an amount to be determined at trial.

SIXTH CAUSE OF ACTION

(Violation of the Notice and Recordkeeping Requirements of the New York Labor Law)

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Plaintiff re-avers and re-alleges the allegations set forth above, as though fully set forth
herein. Defendants failed to provide Plaintiff and the NYLL Class with a written notice, in
English and in Spanish (Plaintiffs' primary language), ofhis rate ofpay, regular pay day, and
such other information as required by NYLL §195(1).

Defendants are liable to Plaintiffand the NYLL Class in the amount of$5,000 each, together
with costs and attorneys’ fees.

SEVENTH CAUSE OF ACTION
(Violation of the Wage Statements Provision of the New York Labor Law)

Plaintiff re-avers and re-alleges the allegations set forth above, as though fully set forth
herein.

Defendants never provided Plaintiff and the NYLL Class with wage statements upon each
payment of wages, as required by NYLL 195(3).

Defendants are liable to Plaintiff and the NYLL Class in the amount of $5,000, together with
costs and attorneys’ fees.

PRAYER FOR RELIEF

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DocuSign Envelope ID: ASF BS ARs PS Soh Bou ABA Document 1 Filed 02/03/23 Page 11 of 14

WHEREFORE, Plaintiffrespectfully requests that this Court enter judgment as follows:

a) Designating this action as a collective action and authorizing prompt issuance of

notice pursuant to 29 U.S.C. §216(b) to all putative class members, apprising them ofthe pendency

ofthis action, and permitting them promptly to file consents to be plaintiffs in the FLSA claims in

this action;

b) Declaring that Defendants violated the mmlmum wage provislOns of, and

associated rules and regulations under, the FLSA as to Plaintiffs and the FLSA class members; (c)

Declaring that Defendants violated the overtime wage provisions of, and associated rules and

regulations under, the FLSA as to Plaintiffs and the FLSA class members;

c) Declaring that Defendants' violations of the provisions of the FLSA were willful

as to Plaintiffs and the FLSA class members;

d) Awarding Plaintiffand the FLSA class members damages for the amount of unpaid

overtime wages, and damages for any improper deductions or credits taken against wages under

the FLSA as applicable;

e) Awarding Plaintiff and the FLSA class members liquidated damages in an amount

equal to 100% oftheir damages for the amount ofunpaid minimum and overtime wages, 29 U.S.C.

§ 216(b);

f) Declaring that Defendants violated the minimum wage provisions of, and rules and

orders promulgated under, the NYLL;

g) Declaring that Defendants violated the overtime wage provisions of, and rules and

orders promulgated under, the NYLL;

h) Declaring that Defendants violated the Spread of Hours Wage Order of the New

York Commission of Labor;

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DocuSign Envelope ID: ASF eS ARs APS Soh 8 oY ABA Document 1 Filed 02/03/23 Page 12 of 14

i) Declaring that Defendants’ violations of the New York Labor Law and Spread of
Hours Wage Order were willful;

)) Awarding Plaintiff damages for the amount of unpaid minimum and overtime
wages, spread of hours pay under the NYLL, and damages for any improper deductions or credits
taken against wages,

k) Awarding Plaintiff damages for Defendants’ violation of the NYLL notice and
recordkeeping provisions, pursuant to NYLL §§198(1-b), 198(1-d);

1) Awarding Plaintiff liquidated damages in an amount equal to one hundred percent
(100%) of the total amount of minimum wage, spread of hours pay and overtime compensation
shown to be owed pursuant to NYLL § 663 as applicable; and liquidated damages pursuant to
NYLL § 198(3);

m) Awarding Plaintiff pre-judgment and post-judgment interest as applicable;

n) Awarding Plaintiff the expenses incurred in this action, including costs and
attorneys’ fees;

0) Providing that if any amounts remain unpaid upon the expiration of ninety days
following issuance ofjudgment, or ninety days after expiration ofthe time to appeal and no appeal
is then pending, whichever is later, the total amount ofjudgment shall automatically increase by
fifteen percent (15%), as required by NYLL § 198(4); and

Pp) All such other and further reliefs the Court deems just and proper.
DocuSign Envelope ID: ASF BSA ROMS Sot O RON RBA Document 1 Filed 02/03/23 Page 13 of 14

JURY DEMAND

Plaintiff demands a trial by jury on all issues triable by ajury.

February 3, 2023

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Respectfully Submitted,

LAW OFFICES OF NOLAN KLEIN, P.A.
Attorneys for Plaintiff

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Boca Raton, FL 33431

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By: _ Js Nolan Klein

 

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DocuSign Envelope 1D: Aor Be pS StS BPA Document 1 Filed 02/03/23 Page 14 of 14

CONSENTIMIENTO PARA DEMANDAR BAJO
LA LEY DE NORMAS LABORALES JUSTAS
(FAIR LABOR STANDARDS ACT)

Yo, ELOY XOCHITEMOL soy un empleado o ex empleado de NONNA BEPPA SOHO, y/o
personas o entidades relacionadas. Las alegaciones que se establecen en esta demanda me han sido
explicadas en espafiol y todas son verdaderas y correctas a mi entender, informacion y creencia.
He consentido para ser demandante en la accidn mencionada anteriormente para cobrar los salarios
no pagados y otros dafios y perjuicios.

_ 2/3/2023

Fecha: , 2023.

(x DocuSigned by:
4EC554EB2QNE2454 Ls

ELOY XOCHITEMOL

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